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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


IN THE MATTER OF THE               )
RESTRAINT OF:                      )         MISC. ACTION NO.
                                   )          2:21cm3634-MHT
APPROXIMATELY 400                  )               (WO)
ROOSTERS, HENS, YOUNG              )
CHICKENS, AND UNHATCHED            )
CHICKENS LOCATED AT AND            )
AROUND 4295 COUNTY ROAD            )
528, VERBENA, ALABAMA,             )
36091                              )


IN THE MATTER OF THE               )
RESTRAINT OF:                      )         MISC. ACTION NO.
                                   )          2:21cm3635-MHT
APPROXIMATELY 1,000                )               (WO)
ROOSTERS, HENS, YOUNG              )
CHICKENS, AND UNHATCHED            )
CHICKENS LOCATED AT AND            )
AROUND 4227 COUNTY ROAD            )
528, VERBENA, ALABAMA,             )
36091                              )


IN THE MATTER OF THE               )
RESTRAINT OF:                      )         MISC. ACTION NO.
                                   )          2:21cm3636-MHT
APPROXIMATELY 1,000                )               (WO)
ROOSTERS, HENS, YOUNG              )
CHICKENS, AND UNHATCHED            )
CHICKENS LOCATED AT AND            )
AROUND 4046 COUNTY ROAD            )
528, VERBENA, ALABAMA,             )
36091                              )
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                 OPINION AND ORDER GRANTING
             MOTION TO EXTEND RESTRAINING ORDER

    In these three cases, the government has sought a

restraining order to prevent the owners of birds it

contends    are     used     in    illegal       cockfighting       from

disposing of the birds.            The case is now before the

court on the government’s motion to extend further the

court’s restraining order.             For the reasons below, the

motion will be granted.



                     I.    Procedural History

    On June 11, 2021, the government filed in each case

an ex parte motion for a temporary restraining order to

prevent     any    action      that      would     result     in        the

unavailability of the subject birds.                  That day, the

court entered in each case a 14-day ex parte temporary

restraining order pursuant to 21 U.S.C. § 853(e)(2) and

18 U.S.C. § 983(j)(3).         After they were served with the

restraining orders, the owners of the restrained birds,

William    Easterling,     Billy    and    Tyler    Easterling,         and

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Brent     Easterling       filed     objections     to    the    orders    and

requested a hearing.

       After an evidentiary hearing held on June 25, 2021,

the court entered a restraining order through August

13, 2021, pursuant to 21 U.S.C. § 853(e)(1)(B) and 18

U.S.C. § 983(j)(1)(B).               On motion of the government,

the     court    then    extended      the    restraining         order    for

another 31 days, through September 13, 2021.

       On September 13, the government filed the pending

motion to extend the restraining order another 31 days.

In response, the Easterlings filed objections to the

motion and requested a hearing.                     After a conference

call the following day, the court set the motion for an

evidentiary        hearing      on     September         17,    and   orally

extended the restraining order until the hearing.

       The court held an evidentiary hearing on the motion

on     September     17,    2021.          During   the        hearing,    the

government clarified that it is seeking a restraining

order through October 29, 2021, as the next criminal


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grand jury meets on October 26 through 29, 2021.                      After

hearing the evidence and making certain findings, the

court orally extended the restraining order until it

could enter a written order resolving the motion.



                        II.    Applicable Law

      Federal law makes it unlawful “for any person to

knowingly sponsor or exhibit an animal in an animal

fighting     venture.”        7   U.S.C.      § 2156(a)(1).          Section

2156(f)(1) defines the term “animal fighting venture”

as “any event, in or affecting interstate or foreign

commerce,     that    involves     a       fight    conducted   or    to   be

conducted between at least 2 animals for purposes of

sport, wagering, or entertainment,” with an exception

not relevant here.1           The statute also makes it illegal

to    “knowingly      attend”     such       a     “venture,”   7    U.S.C.


    1. The statute excludes from the definition of
“‘animal fighting venture’ ... any activity the primary
purpose of which involves the use of one or more
animals   in   hunting   another  animal.”   7   U.S.C.
§ 2156(f)(1).

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§ 2156(a)(2), to “knowingly sell, buy, possess, train,

transport, deliver, or receive any animal for purposes

of having the animal participate in an animal fighting

venture,” 7 U.S.C. § 2156(b), and to “knowingly sell,

buy,     transport,     or     deliver         in    interstate          or    foreign

commerce a knife, a gaff, or any other sharp instrument

attached, or designed or intended to be attached, to

the     leg    of   a   bird    for    use          in    an    animal        fighting

venture,” 7 U.S.C. § 2156(d).

       Section 2156 provides for the civil forfeiture of

birds      involved     in     such        ventures.              See     7     U.S.C.

§ 2156(e)      (“Any    animal     involved              in    any     violation    of

this section shall be liable to be ... forfeited to the

United States at any time on complaint filed in any

United States district court ... for any jurisdiction

in     which     the    animal        is       found          ...”).          Criminal

forfeiture of such birds is also available by way of 28

U.S.C. § 2461 and 21 U.S.C. § 853.                            Section 2461 makes

criminal       forfeiture      available            in    criminal       cases     for


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acts for which civil forfeiture is authorized.                         See 28

U.S.C. § 2461(c) (“If a person is charged in a criminal

case with a violation of an Act of Congress for which

the     civil     or    criminal      forfeiture      of       property          is

authorized, the Government may include notice of the

forfeiture in the indictment or information pursuant to

the     Federal     Rules    of     Criminal    Procedure.             If    the

defendant is convicted of the offense giving rise to

the forfeiture, the court shall order the forfeiture of

the property as part of the sentence in the criminal

case      pursuant      to    the    Federal       Rules       of     Criminal

Procedure and section 3554 of title 18, United States

Code.”).          The   statute      further     provides           that    “the

procedures in ... 21 U.S.C. § 853 ... apply to all

stages of a criminal forfeiture proceeding ....”                           Id.

       To obtain a restraining order under 21 U.S.C. § 853

before the filing of an indictment or information, the

government       must    show     that    “there    is     a    substantial

probability that the United States will prevail on the


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issue of forfeiture and that failure to enter the order

will result in the property being destroyed, removed

from the jurisdiction of the court, or otherwise made

unavailable            for         forfeiture,”            21         U.S.C.

§ 853(e)(1)(B)(i), and that “the need to preserve the

availability of the property through the entry of the

requested      order    outweighs      the     hardship    on   any   party

against whom the order is to be entered,” 21 U.S.C.

§ 853(e)(1)(B)(ii).

       To obtain a restraining order before the filing of

a civil complaint in forfeiture, the government must

show that that “there is a substantial probability that

the     United     States       will   prevail      on    the   issue      of

forfeiture and that failure to enter the order will

result in the property being destroyed, removed from

the     jurisdiction       of    the       court,   or   otherwise      made

unavailable for forfeiture;” and “the need to preserve

the availability of the property through the entry of

the requested order outweighs the hardship on any party


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against whom the order is to be entered.”                          18 U.S.C.

§ 983(j)(1)(B)(i) & (ii).

       Restraining          orders   under       either       provision    are

effective for not more than 90 days “unless extended

...    for     good    cause    shown,”     or     if    an   indictment    or

information       or    a    civil   complaint      for       forfeiture   has

been filed.           18 U.S.C. § 983(j)(1)(B)(ii); 21 U.S.C.

§ 853(e)(1).



                             III.    Discussion

       Based    on     the    evidence     heard    at    the    evidentiary

hearings on September 17, 2021 and June 25, 2021, and

based on the representations of the parties, the court

finds that the government has met the requirements for

issuance of a further restraining order through October

29, 2021, pursuant to 21 U.S.C. § 853(e)(1)(B) and 18

U.S.C. § 983(j)(1)(B).

       On the basis of the evidence heard at the hearings,

the court found and today reiterates that “there is a


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substantial       probability         that       the    United       States    will

prevail      on    the     issue      of        forfeiture.”           18   U.S.C.

§ 983(j)(1)(B)(i); 21 U.S.C. § 853(e)(1)(B)(i).                             During

the     hearings,        the   court           saw   and     heard     compelling

evidence that the Easterlings are running a large-scale

cockfighting         operation         that          breeds     roosters        for

cockfighting,        sells     and    ships          birds    for    purposes   of

cockfighting, and holds cockfights with the birds they

breed at a cockfighting “pit” built on (or immediately

adjacent to) their property, which is a wooden building

with multiple rows of stadium-style seating arranged

around a sand pit where birds fight.                          While the court

need not catalogue all of the evidence it heard, it

will discuss some of the key evidence.                               Perhaps the

most      compelling       evidence            was    video     obtained       from

William Easterling’s cell phone, which clearly showed

Brent Easterling participating in a cockfight at the

above-mentioned           cockfighting               pit,      while        William

Easterling        watched      with    approval            (along    with     other


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spectators).            Video obtained from Tyler Easterling’s

cell phone showed him on his (or another Easterling’s)

property      having          roosters         spar    with    each     other    and

encouraging         a    rooster          on   the     ground    to     attack    an

immobilized         rooster         he    held    in    his    hands,    which    it

jumped up and did after little prompting.                               Testimony

from a case agent made clear that the Easterlings use

such       videos       to    show        prospective         buyers    that     the

roosters they are selling are aggressive fighters, and

the court so found.                     Testimony also established that

one of the Easterlings sold gaffs or small knives that

are     attached        to        roosters’      legs    to     increase       their

lethality in fights, and that government agents found a

burn    pit    next      to       the     Easterlings’        cockfighting       pit

containing the carcasses of multiple birds and some of

small      metal    knives         that    are    attached       to    their    legs

during the fights.

       The Easterlings put forward two “expert witnesses”

in    an    attempt          to    show    that       they    raise     birds    for


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legitimate     purposes,        such    as   for    food    or    for    bird

collectors or bird shows.                These witnesses failed to

convince    the    court       that    the   primary   purpose      of    the

Easterlings’ operations is legitimate; moreover, both

ended     up      providing       further       evidence         that     the

Easterlings       run      a     cockfighting        operation.            In

particular, one of the experts testified that all of

the roosters he saw on Brent Easterling’s property were

either too young or too old to fight.                       Based on that

testimony, the court found that the reason the roosters

of fighting age were missing is that they had been used

for     cockfighting      or     sold    for    that   purpose.2           As

discussed      earlier,        forfeiture      of   birds    involved      in

cockfighting is authorized by statute.                       Accordingly,

there is a substantial probability that the government



    2. Clearly, the fact that some roosters on the
farms are too young to fight proves nothing. They
simply have not reached fighting age yet but will be
fought or sold for fighting when at the right age. As
for the roosters above fighting age, it stands to
reason that a breeding operation needs to keep some
male birds for purposes of breeding.
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will    prevail       in    seeking      forfeiture      of    the    birds       at

issue.

       The    court    notes      that    many    of    the    birds       on   the

Easterlings’          properties         are     hens    or     chicks,         not

roosters.       While it is a closer call for the hens and

female chicks, the court finds that the government is

substantially likely to prevail in seeking forfeiture

of them.       The evidence made clear that the hens are an

important part of the cockfighting operation, in that

they    are    used        to   breed    the    fighting       roosters,        and

thereby are involved in the cockfighting venture.                               See

7 U.S.C. § 2156(e).              And the chicks are either future

cockfighting roosters or future breeding hens.

       Based on the evidence and representations of the

parties,      the     court      further       finds    that       there     is    a

substantial         probability         that     failure      to     enter      the

requested restraining order will result in making the

roosters      unavailable        for     forfeiture.          See    18    U.S.C.

§ 983(j)(1)(B)(i);              21      U.S.C.      §      853(e)(1)(B)(i).


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Counsel for the Easterlings made clear that, if the

restraining order is lifted, the Easterlings would seek

to sell the birds as soon as possible, because they are

incurring significant costs in paying for their upkeep.

The evidence made clear that they have in the past sold

and would continue sell the birds across state lines;

this    likely    would    make    the     birds    unavailable     for

forfeiture.      Moreover, based on the record, there is no

way to ensure that the roosters would not be used for

cockfighting,     and     the   roosters    would   face   a   serious

risk of death if so used.           This, too, would make them

unavailable for forfeiture.

       Finally, the court finds that “the need to preserve

the availability of the property through the entry of

the requested order outweighs the hardship on any party

against whom the order is to be entered.”                   18 U.S.C.

§ 983(j)(1)(B)(ii); 21 U.S.C. §            853(e)(1)(B)(ii).        The

Easterlings are incurring significant expenses to care

for the birds during the pendency of the restraining


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order.      While Brent, Billy, and Tyler Easterling have

other income, William Easterling is retired and on a

limited budget.          However, this hardship must be weighed

against     the    government’s         need   for     the    restraining

order.      The government primarily seeks forfeiture of

the birds to keep them from being used or sold for

cockfighting        or     for     breeding          more     birds        for

cockfighting.       Without an extension of the restraining

order, the birds would almost certainly be used or sold

for   one   of    those    purposes.       Accordingly,           the    court

finds     that    the     government’s         need     for       the    order

outweighs the hardship on the Easterlings.

      Finally, as the requested extension would result in

the restraining order lasting more than 90 days, the

government       must    show    good    cause    for       the    requested

extension, which would run through October 29, 2021,

the end of the next meeting of the grand jury.                          See 18

U.S.C. § 983(j)(1)(B); 21 U.S.C. § 853(e)(1)(B).                         Based

on the testimony of the supervising case agent, the


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court finds that the electronic evidence gathered by

the    government       is    unusually      extensive    and   that   the

government has acted in good faith and diligently in

assessing         the        evidence        gathered      during      its

investigation.          Moreover, the government plans to seek

an    indictment       of    the   Easterlings,     and   the   September

2021 grand jury has been cancelled due to the COVID-19

pandemic.        The next grand jury meets October 26-29,

2021.      As the cancellation of the September grand jury

is not the government’s fault, and based on the large

quantity of data the government must review and its

good faith in doing so, the court finds that there is

good    cause     to    extend     the     restraining    order   through

October 29 to prevent loss of the restrained property.

                                         ***

       Accordingly, it is ORDERED as follows:

       (1) The      government’s           motion    to    extend      the

restraining order (Doc. 23) is granted.




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    (2) The restraining order entered on June 25, 2021

pursuant   to   21   U.S.C.    §   853(e)(1)(B)      and   18   U.S.C.

§ 983(j)(1)(B) (Doc. 16) is extended through October

29, 2021, at 5:00 p.m.

    DONE, this the 20th day of September, 2021.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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